                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      MILWAUKEE DIVISION


LAURA KELLY,
on behalf of herself and
all others similarly situated,                              Case No. 20-cv-130

                Plaintiff,                                  COLLECTIVE AND CLASS
        v.                                                  ACTION PURSUANT TO
                                                            29 U.S.C. §216(b) AND
HUDAPACK METAL TREATING, INC.                               AND FED. R. CIV. P. 23
979 Koopman Lane
Elkhorn, Wisconsin 53121                                    JURY TRIAL DEMANDED

                Defendant



                                          COMPLAINT



                                   PRELIMINARY STATEMENT

        1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Laura Kelly, against Defendant, Hudapack Metal Treating, Inc.

        2.      Plaintiff bring these FLSA and WWPCL claims and causes of action against

Defendant on behalf of herself and all other similarly-situated current and former hourly-paid,

non-exempt employees of Defendant for purposes of obtaining relief under the FLSA and

WWPCL for unpaid overtime compensation, liquidated damages, costs, attorneys’ fees,

declaratory and/or injunctive relief, and/or any such other relief the Court may deem appropriate.

Specifically, Defendant operated an unlawful compensation system that deprived current and



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former hourly-paid, non-exempt employees of their wages earned for all compensable work

performed each workweek, including at an overtime rate of pay for each hour worked in excess

of forty (40) hours in a workweek by failing to include all forms of non-discretionary

compensation, such as monetary bonuses, incentives, awards, and/or other rewards and

payments, in all current and former hourly-paid, non-exempt employees’ regular rates of pay for

overtime calculation purposes.

       3.      Plaintiff also brings these FLSA and WWPCL claims and causes of action against

Defendant on behalf of herself for purposes of obtaining relief under the FLSA and WWPCL for

unpaid overtime compensation, liquidated damages, costs, attorneys’ fees, declaratory and/or

injunctive relief, and/or any such other relief the Court may deem appropriate. Specifically,

during Plaintiff’s employment with Defendant, Defendant failed to compensate Plaintiff for all

hours worked and work performed each workweek on behalf of Defendant, with Defendant’s

knowledge, for Defendant’s benefit, and/or at Defendant’s direction, including at an overtime

rate of pay for each hour worked in excess of forty (40) hours in a workweek.

       4.      Defendant’s deliberate failure to compensate its hourly-paid, non-exempt

employees, including Plaintiff, for hours worked and work performed at the proper and legal

rate(s) of pay violated federal law as set forth in the FLSA and state law as set forth in the

WWPCL.

                                 JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       6.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,




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Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et

seq., and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action

within such original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution.

         7.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because

Defendant does business, and has substantial and systematic contacts, in this District.

                                   PARTIES AND COVERAGE

         8.      Plaintiff, Laura Kelly, is an adult female resident of the State of Wisconsin with a

post office address of S85 W18442 Dean Court, Muskego, Wisconsin 53150.

         9.      Defendant, Hudapack Metal Treating, Inc., was, at all material times herein, a

governmental entity with a principal mailing address of 979 Koopman Lane, Elkhorn, Wisconsin

53121.

         10.     Defendant is a commercial heat treater.

         11.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant owned, operated, and managed (at least) two separate locations in the

State of Wisconsin: 979 Koopman Lane, Elkhorn, Wisconsin 53121 (hereinafter Defendant’s

“Elkhorn, Wisconsin location”); and 5512 West Airways Avenue, Franklin, Wisconsin 53132

(hereinafter Defendant’s “Franklin, Wisconsin location”).

         12.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff performed compensable work as an hourly-paid, non-exempt employee at

Defendant’s Franklin, Wisconsin location.

         13.     For purposes of the FLSA, Defendant was an “employer” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).




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       14.    For purposes of the WWPCL, Defendant was an “employer” of Plaintiff, and

Plaintiff was “employed” by Defendant, as those terms, or variations thereof, are used in Wis.

Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       15.    During the relevant time periods as stated herein, Defendant was engaged in

“commerce” and/or its employees were engaged in “commerce,” as that term is defined under

the FLSA.

       16.    During the relevant time periods as stated herein, Defendant employed more than

two (2) employees.

       17.    During the relevant time periods as stated herein, Defendant’s annual dollar

volume of sales or business exceeded $500,000.

       18.    During the relevant time periods as stated herein, Plaintiff was engaged in

commerce or in the production of goods for commerce.

       19.    Plaintiff’s Notice of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) is contemporaneously filed with this Complaint (ECF No. 1).

       20.    Plaintiff brings this action on behalf of herself and all other similarly-situated

current and former hourly-paid, non-exempt employees employed by Defendant within the three

(3) years immediately preceding the filing of this Complaint (ECF No. 1). Plaintiff and all other

hourly-paid, non-exempt employees were subjected to Defendant’s same unlawful policies as

enumerated herein and performed similar job duties.

       21.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other current and former hourly-paid, non-exempt employees on

whose behalf Plaintiff brings this Complaint performed compensable work on Defendant’s

behalf, at Defendant’s direction, for Defendant’s benefit, and/or with Defendant’s knowledge.




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       22.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant supervised Plaintiff’s and all other hourly-paid, non-exempt employees’

day-to-day activities.

       23.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant hired, terminated, promoted, demoted, and suspended Plaintiff and all

other hourly-paid, non-exempt employees.

       24.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant reviewed Plaintiff’s work performance and the work performance of all

other hourly-paid, non-exempt employees.

       25.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant established Plaintiff’s and all other hourly-paid, non-exempt employees’

work schedules and provided Plaintiff and all other hourly-paid, non-exempt employees with

work assignments and hours of work.

       26.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant established the terms, conditions, work rules, policies, and procedures

by which Plaintiff and all other hourly-paid, non-exempt employees abided in the workplace.

       27.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant oversaw, managed, and adjudicated Plaintiff’s and all other hourly-paid,

non-exempt employees’ employment-related questions, benefits-related questions, and

workplace issues.




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       28.      Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt employees

for hours worked and/or work performed, including with additional forms of compensation, such

as monetary bonuses, incentives, and/or other rewards and payments.

                                 GENERAL ALLEGATIONS

       29.      In approximately April 2001, Defendant hired Plaintiff as an Office Manager

       30.      During Plaintiff’s employment with Defendant, Plaintiff performed compensable

work on Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at

Defendant’s direction at Defendant’s Franklin, Wisconsin location.

       31.      During the entirety of Plaintiff’s employment with Defendant, Plaintiff was an

hourly-paid, non-exempt employee for FLSA and WWPCL purposes.

       32.      During Plaintiff’s employment with Defendant and until approximately

September 2019, Plaintiff reported directly to Gregory Huss, General Manager, who reported

directly to Gary Huss, Owner. As of approximately September 2019, Plaintiff reported directly to

Kristin Peterson, Controller, who reported directly to Todd McDonald, Chief Executive Officer

of Thermal Process Holdings.

       33.      On or about January 21, 2020, Plaintiff’s employment with Defendant ended.

                        COLLECTIVE AND CLASS ALLEGATIONS

       34.      Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were employed by

Defendant in hourly-paid, non-exempt job positions and performed compensable work on

Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s

direction.




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       35.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained employment records and other documentation regarding

Plaintiff and all other hourly-paid, non-exempt employees.

       36.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for tracking and/or recording hours

worked by Plaintiff and all other hourly-paid, non-exempt employees.

       37.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for compensating Plaintiff and all other

hourly-paid, non-exempt employees for all remuneration earned, including but not limited to

with monetary bonuses, incentives, awards, and/or other rewards and payments.

       38.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees frequently worked in

excess of forty (40) hours per workweek.

       39.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant knew or had knowledge that Plaintiff and all other hourly-paid, non-

exempt employees frequently worked in excess of forty (40) hours per workweek.

       40.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant tracked and/or recorded Plaintiff’s and all other hourly-paid, non-

exempt employees’ hours worked each workweek.

       41.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt employees

on a bi-weekly basis via paycheck.




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       42.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s workweek for FLSA and WWPCL purposes was Sunday through

Saturday.

       43.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former hourly-paid, non-exempt employees were

subject to Defendant’s same unlawful policy, practice, custom, and/or scheme of failing to

include all forms of non-discretionary compensation, such as monetary bonuses, incentives,

awards, and/or other rewards and payments, in their regular rates of pay for overtime purposes in

violation of the FLSA and WWPCL.

       44.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees employed by Defendant

were legally entitled to overtime pay for all hours worked in excess of forty (40) in a workweek.

       45.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s policies in practice failed to compensate Plaintiff and all other hourly-

paid, non-exempt employees at the correct and lawful overtime rate of pay for all hours worked

and work performed in excess of forty (40) hours in a workweek.

       46.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s unlawful pay practices as described herein resulted in Plaintiff and all

other hourly-paid, non-exempt employees being deprived of overtime pay for all hours worked in

excess of forty (40) in a workweek.

       47.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant was or should have been aware that their policies in practice did not

properly and lawfully compensate Plaintiff and all other hourly-paid, non-exempt employees at




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the correct and lawful overtime rate of pay for all hours worked in excess of forty (40) in a

workweek.

                       PLAINTIFF’S INDIVIDUAL ALLEGATIONS

       48.     During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Plaintiff regularly performed compensable work each workweek on

Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s

direction – particularly at Peterson’s direction and/or with Peterson’s knowledge.

       49.     During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Plaintiff regularly performed compensable work in excess of forty (40) hours

each workweek on Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit,

and/or at Defendant’s direction – particularly at Peterson’s direction and/or with Peterson’s

knowledge.

       50.     During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Plaintiff regularly performed approximately two (2) to ten (10) hours of

compensable work each workweek on Defendant’s behalf, with Defendant’s knowledge, for

Defendant’s benefit, and/or at Defendant’s direction – particularly at Peterson’s direction and/or

with Peterson’s knowledge.

       51.     During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Peterson informed Plaintiff that Defendant would compensate Plaintiff for only

forty (40) hours of work performed each workweek regardless of how many hours Plaintiff

actually worked on Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit,

and/or at Defendant’s direction each workweek.




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       52.      During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Defendant routinely and consistently compensated Plaintiff for only forty (40)

hours of work performed each workweek even though Plaintiff routinely and consistently

actually worked in excess of forty (40) hours per workweek on Defendant’s behalf, with

Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s direction.

       53.      During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Plaintiff’s hours worked in excess of forty (40) hours per workweek on

Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s

direction were integral and indispensable parts of Plaintiff’s principal activities of her Office

Manager position.

       54.      During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Plaintiff’s hours worked in excess of forty (40) hours per workweek on

Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s

direction were in furtherance of the job duties and job responsibilities of her Assistant Manager

position.

       55.      During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Defendant failed to compensate Plaintiff for any of the hours worked in excess

of forty (40) hours per workweek on its behalf, with its knowledge, for its benefit, and/or at its

direction, including but not limited to at Plaintiff’s regular hourly rate of pay and/or an overtime

rate of pay.




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       56.     During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Defendant was or should have been aware that it did not properly and lawfully

compensate Plaintiff at an overtime rate of pay for all hours worked in excess of forty (40) in a

workweek.

       57.     During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Defendant owes Plaintiff compensation in the form of unpaid overtime wages,

liquidated damages, and attorneys’ fees and costs in amounts that remain to be determined.

               COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       58.     Plaintiff brings this action on behalf of herself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

                      All current and former hourly-paid, non-exempt employees
                      employed by Defendant within the three (3) years
                      immediately preceding the filing of this Complaint (ECF
                      No. 1) who have not been compensated for all hours
                      worked in excess of forty (40) hours in a workweek at the
                      proper, correct, and/or lawful overtime rate of pay as a
                      result of Defendant’s failure to include all forms of non-
                      discretionary compensation in said employees’ regular rates
                      of pay for overtime calculation purposes.

       59.     Plaintiff and the FLSA Collective primarily performed non-exempt job duties

each workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of

forty (40) in a workweek.

       60.     Plaintiff and the FLSA Collective were compensated on an hourly basis (and not

on a salary basis) each workweek and, thus, were legally entitled to overtime pay for all hours

worked in excess of forty (40) in a workweek.




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       61.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and the FLSA Collective with, in addition to an

hourly or regular rate(s) of pay, other forms of non-discretionary compensation – such as

performance-based and/or attendance-based monetary bonuses and incentives, awards, and/or

other rewards and payments – on a quarterly, bi-annual, and/or annual basis.

       62.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), the monetary compensation that Defendant provided to Plaintiff and the FLSA

Collective was non-discretionary in nature: it was made pursuant to a known plan (performance

or productivity) or formula and/or were announced and known to Plaintiff and the FLSA

Collective to encourage and/or reward their steady, rapid, productive, reliable, safe, consistent,

regular, predictable, continued, and/or efficient work performance and/or hours worked.

       63.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s pay practices failed to include all forms of non-discretionary

compensation, such as monetary bonuses, incentives, awards, and/or other rewards and

payments, in Plaintiff’s and the FLSA Collective’s regular rate(s) of pay for overtime calculation

and compensation purposes during workweeks when said employees worked more than forty

(40) hours during the representative time period.

       64.     Defendant’s deliberate failure to properly compensate Plaintiff and the FLSA

Collective in such a fashion as described in the aforementioned paragraphs violated federal law

as set forth in the FLSA.




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       65.     Defendant’s unlawful practice as it relates to non-discretionary compensation

described herein failed to compensate and deprived Plaintiff and the FLSA Collective of the

appropriate and lawful overtime wages and compensation due and owing to them, in violation of

the FLSA.

       66.     Defendant was or should have been aware that its unlawful practice as it relates to

non-discretionary compensation failed to compensate and deprived Plaintiff and the FLSA

Collective of the appropriate and lawful overtime wages and compensation due and owing to

them, in violation of the FLSA.

       67.     Plaintiff’s FLSA Cause of Action is brought under and maintained as an opt-in

Collective Action Pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of the

FLSA Collective, and this Cause of Action may be pursued by those who affirmatively opt in to

this case, pursuant to 29 U.S.C. § 216(b).

       68.     Plaintiff and the FLSA Collective are and have been similarly situated, have and

have had substantially similar job requirements, and/or pay provisions, and are and have been

subject to Defendant’s decisions, policies, plans and programs, practices, procedures, protocols,

routines, and rules willfully failing and refusing to compensate them properly and lawfully with

overtime compensation. Plaintiff’s claims and causes of action as stated herein are the same as

those of the FLSA Collective.

       69.     Plaintiff and the FLSA Collective seek relief on a collective basis challenging,

among any other FLSA violations, Defendant’s practice of failing to include all forms of non-

discretionary compensation in the FLSA Collective’s regular rates of pay for overtime

compensation and calculation purposes.




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       70.     The FLSA Collective is readily ascertainable. For purpose of notice and other

purposes related to this action, the names, phone numbers, and addresses are readily available

from Defendant. Notice can be provided to the FLSA Collective via first class mail to the last

address known by Defendant and through posting at Defendant’s locations in areas where

postings are normally made.

       71.     Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the FLSA Collective.

                         RULE 23 CLASS ALLEGATIONS - WISCONSIN

       72.     Plaintiff brings this action on behalf of herself and all other similarly situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

                      All current and former hourly-paid, non-exempt employees
                      employed by Defendant in the State of Wisconsin within
                      the two (2) years immediately preceding the filing of this
                      Complaint (ECF No. 1) who have not been compensated
                      for all hours worked in excess of forty (40) hours in a
                      workweek at the proper, correct, and/or lawful overtime
                      rate of pay as a result of Defendant’s failure to include all
                      forms of non-discretionary compensation in said
                      employees’ regular rates of pay for overtime calculation
                      purposes.

       73.     The Wisconsin Class members are readily ascertainable. The number and identity

of the Wisconsin Class members are determinable from the records of Defendant. The job titles,

length of employment, and the rates of pay for each Wisconsin Class member are also

determinable from Defendant’s records. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from Defendant. Notice can be provided

by means permissible under Fed. R. Civ. P. 23.




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       74.     The proposed Wisconsin Class is so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the

parties and the Court. Although the precise number of such persons is unknown, upon

information and belief, there are over one hundred (100) members of the Wisconsin Class.

       75.     Plaintiff’s claims are typical of those claims which could be alleged by any

member of the Wisconsin Class, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Class in separate actions. All the Wisconsin Class

members were subject to the same corporate practices of Defendant, as alleged herein.

Defendant’s corporate-wide policies and practices affected all Wisconsin Class members

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

Wisconsin Class member. Plaintiff and other Wisconsin Class members sustained similar losses,

injuries and damages arising from the same unlawful policies, practices and procedures.

       76.     Plaintiff is able to fairly and adequately protect the interests of the Wisconsin

Class and has no interests antagonistic to the Wisconsin Class. Plaintiff is represented by counsel

who is experienced and competent in both collective/class action litigation and employment

litigation and have previously represented plaintiffs in wage and hour cases.

       77.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons

to prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class




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members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Wisconsin

Class members to redress the wrongs done to them.

          78.   Important public interests will be served by addressing the matter as a class

action. The adjudication of individual litigation claims would result in a great expenditure of

Court and public resources; however, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of

the Wisconsin Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Wisconsin Class, establishing incompatible standards of

conduct for Defendant and resulting in the impairment of class members’ rights and the

disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can, and is empowered to, fashion methods to efficiently manage this action as a class

action.

          79.   Defendant has violated the WWPCL regarding payment of wages and overtime

premium wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

          80.   There are questions of fact and law common to the Wisconsin Class that

predominate over any questions affecting only individual members. The questions of law and

fact common to the Wisconsin Class arising from Defendant’s actions include, without




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limitation, the following: (a) Whether Defendant provided the Wisconsin Class with forms of

non-discretionary compensation; (b) Whether Defendant maintained an unlawful compensation

system that failed to include these forms of non-discretionary compensation in current and

former hourly-paid, non-exempt employees’ regular rates of pay for overtime calculation

purposes; and (c) The nature and extent of class-wide injury and the measure of damages for the

injury.

          81.   The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.

                                     FIRST CLAIM FOR RELIEF
                   Violations of the Fair Labor Standards Act of 1938, as Amended
                        (Plaintiff on behalf of herself and the FLSA Collective)

          82.   Plaintiff, on behalf of herself and the FLSA Collective, reasserts and incorporates

by reference all paragraphs set forth above as if restated herein.

          83.   At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

          84.   At all times material herein, Defendant was an employer of Plaintiff and the

FLSA Collective as provided under the FLSA.

          85.   At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendant as provided under the FLSA.

          86.   Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.




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       87.     Defendant violated the FLSA by failing to account for and compensate Plaintiff

and the FLSA Collective for overtime premium pay at the proper and correct overtime rate of

pay for each hour worked in excess of forty (40) hours each workweek.

       88.     The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods

for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).

       89.     Defendant was (and is) subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       90.     Defendant’s failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly include all forms of non-discretionary compensation in the regular rate of pay

for overtime calculations purposes was willfully perpetrated. Defendant also has not acted in

good faith or with reasonable grounds to believe its actions and omissions were not a violation of

the FLSA, and as a result thereof, Plaintiff and the FLSA Collective are entitled to recover an

award of liquidated damages in an amount equal to the amount of unpaid overtime premium pay

described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b). Alternatively,

should the Court find that Defendant acted in good faith or with reasonable grounds in failing to

pay overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of

pre-judgment interest at the applicable legal rate.

       91.     As a result of the aforesaid willful violations of the FLSA’s provisions, overtime

compensation has been unlawfully withheld by Defendant from Plaintiff and the FLSA

Collective for which Defendant is liable pursuant to 29 U.S.C. § 216(b).




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        92.     Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,

plus periods of equitable tolling because Defendant acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.

        93.     Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.

                               SECOND CLAIM FOR RELIEF
               Violations of the Fair Labor Standards Act of 1938, as Amended
                                    (Plaintiff, Individually)

        94.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as

if restated herein.

        95.     Section 207(a)(1) of the FLSA regulates, among other things, the payment of an

overtime premium by employers whose employees are engaged in commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in commerce or in the

production of goods for commerce.

        96.     At all times material herein, Plaintiff was entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. § 201 et. seq.

        97.     Defendant intentionally violated the FLSA by not compensating Plaintiff with an

overtime rate of pay for any and all hours worked and work performed in excess of forty (40) in

a workweek from approximately October 2019 to January 2020.

        98.     Defendant’s failure to properly and legally compensate Plaintiff with an overtime

rate of pay for any and all hours worked and work performed each workweek from

approximately October 2019 to January 2020 was willfully perpetrated. Defendant has neither




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acted in good faith nor with reasonable grounds to believe that its actions and omissions were not

a violation of the FLSA, and as a result thereof, Plaintiff is entitled to recover an award of

liquidated damages in an amount equal to the amount of unpaid overtime wages as described

above. Alternatively, should the Court find that Defendant acted reasonably and with good faith

in failing to pay overtime wages, Plaintiff is entitled to an award of pre-judgment interest at the

applicable legal rate.

       99.      Plaintiff is entitled to damages within the three (3) years immediately preceding

the filing of this Complaint (ECF No. 1), plus periods of equitable tolling because Defendant

acted willfully and knew or showed reckless disregard of whether its conduct was prohibited by

the FLSA and otherwise engaged in wrongful conduct that prevented Plaintiff from asserting

these claims against Defendant.

       100.     Pursuant to the FLSA, 29 U.S.C. § 216(b), successful Plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages.

                                     THIRD CLAIM FOR RELIEF
              Violations of Wisconsin’s Wage Payment and Collection Laws, as Amended
                        (Plaintiff, on behalf of herself and the Wisconsin Class)

       101.     Plaintiff, on behalf of herself and the Wisconsin Class, re-allege and incorporate

all previous paragraphs as if they were set forth herein.

       102.     At all relevant times: Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a);

Defendant was an employer of Plaintiff and the Wisconsin Class within the meaning of Wis.

Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis. Admin. Code § DWD 272.01(5); and




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Defendant employed, and/or continue to employ, Plaintiff and the Wisconsin Class within the

meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and § DWD 272.01.

         103.   Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

         104.   At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class overtime compensation.

         105.   The foregoing conduct, as alleged above, constitutes continuing, willful violations

of the Wisconsin Wage Payment and Collection Laws.

         106.   Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a workweek, in

violation of Wisconsin Wage Payment Laws.

         107.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.

         108.   Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.




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                              FOURTH CLAIM FOR RELIEF
          Violations of Wisconsin’s Wage Payment and Collection Laws, as Amended
                                    (Plaintiff, Individually)

       109.      Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       110.      At all times material herein, Plaintiff was an employee of Defendant within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).

       111.      At all times material herein, Defendant was an employer of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       112.      At all times material herein, Defendant employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       113.      At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of her principal activities without receiving compensation for

these activities at her previously agreed-upon hourly rate of pay with Defendant.

          114.   During Plaintiff’s employment with Defendant from approximately October 2019

to January 2020, Defendant willfully and intentionally failed to compensate Plaintiff for all hours

worked and work performed each workweek, including but not limited to at her agreed-upon

regular or hourly rate of pay in accordance with and as defined in Wis. Stat. § 109.01(3), and at

an overtime rate of pay for all hours worked and work performed in excess of forty (40) in a

workweek, in violation of the WWPCL.




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       115.    As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendant’s violations. Accordingly, Plaintiff seeks damages in the amount of her unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       116.    Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendant, pursuant to the WWPCL.

       WHEREFORE, it is respectfully prayed that this Court grant the following relief:

           a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
              supervised Notice, to all similarly-situated current and former hourly-paid, non-
              exempt employees employed by Defendant informing them of this action and
              their rights to participate in this action. Such Notice shall inform all similarly-
              situated current and qualified former employees of the pendency of this action,
              the nature of this action, and of their right to “opt in” to this action. Additionally,
              such notice will include a statement informing the similarly-situated current and
              qualified former employees that it is illegal for Defendant to take any actions in
              retaliation of their consent to join this action;

           b) At the earliest possible time, issue an Order certifying this action as a class action
              pursuant to Federal Rules of Civil Procedure 23;

           c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC
              as class counsel pursuant to Federal Rules of Civil Procedure 23;

           d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
              2202, declaring Defendant’s actions as described in the Complaint as unlawful
              and in violation of the FLSA and Wisconsin Law and applicable regulations and
              as willful as defined in the FLSA and Wisconsin Law;

           e) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
              similarly-situated hourly-paid, non-exempt employees damages in the form of
              reimbursement for unpaid overtime wages for all time spent performing
              compensable work for which they were not paid pursuant to the rate provided by
              the FLSA and WWPCL;




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          f) Issue an Order directing and requiring Defendant to pay Plaintiff damages in the
             form of reimbursement for unpaid overtime and/or regular wages for all time
             spent performing compensable work from approximately October 2019 to January
             2020 and for which she was not paid pursuant to the rate provided by the FLSA
             and WWPCL;

          g) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees liquidated damages
             pursuant to the FLSA and WWPCL in an amount equal to, and in addition to the
             amount of wages and overtime wages owed to them;

          h) Issue an Order directing Defendant to reimburse Plaintiff and all other similarly-
             situated hourly-paid, non-exempt employees for the costs and attorneys’ fees
             expended in the course of litigating this action, pre-judgment and post-judgment
             interest; and

          i) Provide Plaintiff and all other similarly-situated hourly-paid, non-exempt
             employees with such other and further relief, as the Court deems just and
             equitable.

             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

             Dated this 28th day of January, 2020

                                                    WALCHESKE & LUZI, LLC
                                                    Counsel for Plaintiff

                                                    s/ Scott S. Luzi___________
                                                    James A. Walcheske, State Bar No. 1065635
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